Case 20-10058 Doc56 Filed 07/22/20 Entered 07/22/20 15:16:19 Page 1 of 15

atl] fe CCN OKC identify your.case:

Debtor, Lawrence L Perkins
Fitst Name Middle Namo Last Nama

 

Deblor 2
(Spouse, If fillng) First Name Middto Name Last Name

 

United States Bankruptey Court for the: Middle District of Loulstana
Case number 20-10058

{If known)

 

 

 

Official Form 427
Cover Sheet for Reaffirmation Agreement 12/16

Anyone who Is a party to a reaffirmation agreement may fill out and file thls form. Fill lt out completely, attach it to the reaffirmation agreement,
and file the documents within the time set under Bankruptcy Rule 4008,

 

ae Explain the Repayment Terms of the Reaffirmation Agreement

 

‘1. Who Is the creditor? Ascension Credit Union
Name of the creditor

 

 

2, How much Is the debt? On the date thal the bankruptcy case Is fled $ 11,212.73

To be paid under the reaffirmation agreement $ 11,212.73

$373.00 per month for 39 months (if fixed interest rate)

 

3. What Is the Annual 16.74 9
Percentage Rate (APR) Before the bankruptcy case was filed TOA

of interest? (See
Bankruptcy Code Under the reaffirmation agreement 16.74 % WM Fixed rate
§ 824(k)(3)(E).) (J Adjustable rate

 

4. Does collateral secure C1 No
the debt? :
(A Yes. Describe the collateral. 2009 GMC Sierra

Current market value § {0,200,00

 

6, Does the creditor assert No

that the debt is
nondischargeable? C] Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt Is nondlschargeable.

6, Using Information from Income and expenses reported on Schedules | and J Income and expenses stated on the reaffirmation agreement
Schedule |: Your Income

Official Form 106!) and Q UV) on
enedule Jy Your 6a. Combined monthly Income from $ W022 ‘~~ 6e, Monthly income from all sources sQ\L2Z.. M

Expenses (Official Form line 12 of Schedule | after payroll deductlons
1064), fill In the amounts. 2le
6b, Monthly expenses from lIne 22c of Qe 6f, Monthly expenses _ Sl 9 a
Schedule J s21e23.— §
f
6c. Monthly payments on all -3 Oo 6g. Monthly payments on all — 3 SS
reaffirmed debts not listed on TTT reaffirmed debts not Included In —/
Schedule J monthly expenses

82 22 )

6d. Scheduled net monthly Income (-\w0s.% \oos 2 ~" iGh. Present net monthly income $ OOS. 4

 

Subtract Ilnes 6b and 6c from 6a. Subtract lines 6f and 6g from 6e.
If the total is less than 0, put the If the total is less than 0, put the
number In brackets. number in brackets,

 

 

Officlal Form 427 Cover Sheet for Reafflrmation Agreement page 1
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Debtor 4 La Ww ¥ cH é é \_ ‘ p e¢ \a ry — Case number (if known), 20-1 0058

Firet Namo Middla Namo Last Namo

 

7. Are the Income amounts Z No

 

 

 

on ines 6a and 6e Q yes. Explain why they are different and complete line 10.
different?

8. Are the expense Avo
amounts on lines 6b Cl Yes. Explain why they are different and complete line 10,

 

and 6f different?

 

 

8. Is the net monthly C1 yo
a

Income In IIne 6h less ‘as, A presumption of hardship arises (unless the creditor /s a credit union),
than 0? Explain how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses.

Complete line 10.
Cur w\ enh ivy SOO es 0S

 

 

10, Debtor's certification 7
about lines 7-9 | certify that each explanation on lines 7-9 Is tcue and correct,

If any answer on [ines 7-9 Is
Yes, the debtor must sign
here. Spore. pez x

if all the answers on lines 7-9 ~ Signature of Debtor 4 if Signature of Dabtor 2 (Spouse Only In a Joint Case)
ara No, go to line 14.

 

 

11, Did an attorney represent Wo
the debtor in negotlating (© Yes, Has the atlorney execuled a declaration or an affidavit to support the reaffirmatlon agreement?
the reaffirmation N
agreement? o
Q Yes

 

fo Sign Here

 

Whoever fills out this form | certify that the attached agr¢ament Is a true and correct copy of the reaffirmation agreement between the

 

 

 

must sign here. partles Identlffed on thls Cov. r Sheet for Reaffirmation Agreement.
f '
| \
x/ \\g f
orn ONOY ©
{sign re \ fo ; MM DR LYYYY
‘ Q U
Melissa. Say oy
Prhted Name |
Check one:

() Debtor or Debtor's Attorney
Creditor or Creditor’s Attorney

 

 

 

Official Form 427 Cover Sheet for Reaffirmation Agreement page 2
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Form 2400A (12/15)

 

iu one,

Presumption of Undue Hardship

No Presumption of Undue Hardship

See Debtor's Statement in Support of Reaffirmation,
Part fT below, to determine which box to check,

 

 

 

UNITED STATES BANKRUPTCY COURT

Middle District of Louisiana
Lawrence L Perkins
In re ; Case No, 20-10058

Debtor
Chapter 7

REAFFIRMATION DOCUMENTS

Name of Creditor: Ascension Credit Union

 

Check this box if Creditor is a Credit Union

PART I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision, Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instructions, and definitions found in Part V of
this form.

A. Brief description of the original agreement being reaffirmed:Auto Loan
For exaniple, auto loan

B, AMOUNT REAFFIRMED: $ 11,182.88
The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may include
unpaid principal, interest, and fees and costs (if any) atising on or before 07/07/2020 ,
which is the date of the Disclosure Statement portion of this form (Part V).
See the definition of “Amount Reaffirmed” in Part V, Section C below,

C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 16.2400 %,
See definition of “Annual Percentage Rate” in Part V, Section C below.

This is a (check one) Fixed rate [| Variable rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate
disclosed here,
Case 20-10058 Doc56 Filed 07/22/20 Entered 07/22/20 15:16:19 Page 4 of 15

Form 2400A, Reaffirmation Documents Page 2

D. Reaffirmation Agreement Repayment Terms (check and complete one):
[| $ per month for months starting on

Describe repayment terms, including whether future payment amount(s) may be different from
the initial payment amount.
$373 for 39 months... total with principal and interest Is $14,547.00. The payments are to be made on the

1st of each month by automatic deduction from payroll
E. Describe the collateral, if any, securing the debt:

Description: 2009 GMC Slerra
Current Market Value $ 10,200.00

 

F, Did the debt that is being reaffirmed arise from the purchase of the collateral described above?
[_| Yes, What was the purchase price for the collateral? $
No. What was the amount of the original loan? $ 22,340.35

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement:

Terms as of the Terms After
Date of Bankruptcy Reaffirmation
Balance due (including
fees and costs) $14,212.73 $ 41,212.73
Annual Percentage Rate 16.7400 % 16.7400 %
Monthly Payment $ 373.00 $ 373,00
H. Check this box if the creditor is agreeing to provide you with additional future credit in connection with

this Reaffirmation Agreement, Describe the credit limit, the Annual Percentage Rate that applies to
future credit and any other terms on future purchases and advances using such credit:

PART TI. DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT
A. Were you represented by an attorney during the course of negotiating this agreement?
Check one. [| Yes No

B. Is the creditor a credit union?

Check one, Yes [| No
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Form 2400A, Reaffirmation Documents Page 3

C. If your answer to EITHER question A. or B. above is “No,” complete |. and 2. below,

1.

Per Schedules

a, Monthly income from all sources after payroll deductions Qe,
(take-home pay plus any other income) $ Q.22 .—

Your present monthly income and expenses are:

b. Monthly expenses (including all reaffirmed debts except 52SsS ae
this one) $ D SS.

- @Z
c. Amount available to pay this reaffirmed debt (subtract b. from a.) (s (632 _—
d, Amount of monthly payment required for this reaffirmed debt $ 3 Ao

If the monthly payment on this reaffirmed debt (line a.) is greater than the amount you have available to
pay this reaffirmed debt (line c.), you must check the box at the top of page one that says “Presumption
of Undue Hardship.” Otherwise, you must check the box at the top of page one that says “No
Presumption of Undue Hardship,”

You believe that this reaffirmation agreement will not impose an undue hardship on you or your
dependents because:

Check one of the two statements below, if applicable:

[| You can afford to make the payments on the reaffirmed debt because your monthly income is
greater than your monthly expenses even after you include in your expenses the monthly
payments on all debts you are reaffirming, including this one.

Py You can afford to make the payments on the reaffirmed debt even though your monthly income
is less than your monthly expenses after you include in your expenses the monthly payments on
all debts you are reaffirming, including this one, because:

CON mon un Wy SEP EMSS

Use an additional page if needed for a full explanation.

D, If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

You believe this Reaffirmation Agreement is in your financial interest and you can afford to
make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship.”
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Form 2400A, Reaffirmation Documents Page 4

PART IL. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
| hereby certify that:
(1) — Lagree to reaffirm the debt described above.

(2) Before signing this Reaffirmation Agreement, I read the terms disclosed in this Reaffirmation
Agreement (Part I) and the Disclosure Statement, Instructions and Definitions included in Part V
elow;

(3) The Debtor’s Statement in Support of Reaffirmation Agreement (Part II above) is true and
complete;

(4) [ am entering into this agreement voluntarily and am fully informed of my rights and
responsibilities; and

(5)  Thave received a copy of this completed and signed Reaffirmation Documents form.

SIGNATURE(S) (If this is a joint Reaffirmatign Agreement, a. debfors must sign.):
Date \\2\\Z2E2° — Signature pli eft C4fe

Debtor
Date Signature

 

Joint Debtor, if any

Reaffirmation Agreement Ter ‘ iL Unis by Cr editor: /i ?
<

Creditor ecensi On yw. Pee oS ones iG lon males. Sl
Ht \. Print Name O) Vv Ty / Na ESS sol ( i 4 O1 37
Meliser Savoy (Vinuaew My 1h 02S

"Print Name of Representative Le Sigy nature

- i | ) }
\ Tt \) | me 7 [

V/

PART IV. CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY)

To be filed only if the attorney represented the debtor during the course of negotiating this agreement.

T hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2)
this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) I have
fully advised the debtor of the legal effect and consequences of this agreement and any default under this

agreement,

[ ]a presumption of undue hardship has been established with respect to this agreement, In my opinion,
however, the debtor is able to make the required payment.

Check box, if the presumption of undue hardship box is checked on page I and the creditor is not a Credit
Union.

Date Signature of Debtor’s Attorney

Print Name of Debtor’s Attorney

 
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Form 2400A, Reaffirmation Documents Page 5

PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest. If these steps, which are detailed in the Instructions provided in Part V, Section
B below, are not completed, the Reaffirmation Agreement is not effective, even though you have signed it.

A. DISCLOSURE STATEMENT

1. What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation to pay. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
your property or your wages. Your obligations will be determined by the Reaffirmation Agreement,
which may have changed the terms of the original agreement. If you are reaffirming an open end credit
agreement, that agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions.

2. Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can
afford the payments that you agree to make.

3. What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
any lien on your property. A ‘“‘lien’’ is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lien is often referred to as collateral. Even if you do not
reaffirm and your personal liability on the debt is discharged, your creditor may still have a right under
the lien to take the collateral if you do not pay or default on the debt. Ifthe collateral is personal
property that is exempt or that the trustee has abandoned, you may be able to redeem the item rather
than reaffirm the debt. To redeem, you make a single payment to the creditor equal to the current value
of the collateral, as the parties agree or the court determines.

4. How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into
a reaffirmation agreement, you must do so before you receive your discharge. After you have entered
into a reaffirmation agreement and all parts of this form that require a signature have been signed, either
you or the creditor should file it as soon as possible. The signed agreement must be filed with the court
no later than 60 days after the first date set for the meeting of creditors, so that the court will have time
to schedule a hearing to approve the agreement if approval is required. However, the court may extend
the time for filing, even after the 60-day period has ended.

5. Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is rescinded
(or canceled). Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed.
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Form 2400A, Reaffirmation Documents Page 6

6. When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your Reaffirmation
Agreement and

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when
it is filed with the court unless the reaffirmation is presumed to be an undue hardship. If the
Reaffirmation Agreement is presumed to be an undue hardship, the court must review it and may
set a hearing to determine whether you have rebutted the presumption of undue hardship.

ii. if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it
is filed with the court.

b. If you were not represented by an attorney during the negotiation of your Reaffirmation
Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To have the
court approve your agreement, you must file a motion. See Instruction 5, below. The court will notify
you and the creditor of the hearing on your Reaffirmation Agreement. You must attend this hearing, at
which time the judge will review your Reaffirmation Agreement. If the judge decides that the
Reaffirmation Agreement is in your best interest, the agreement will be approved and will become
effective. However, if your Reaffirmation Agreement is for a consumer debt secured by a mortgage,
deed of trust, security deed, or other lien on your real property, like your home, you do not need to file a
motion or get court approval of your Reaffirmation Agreement.

7. What if you have questions about what a creditor can do? If you have questions about reaffirming a
debt or what the law requires, consult with the attorney who helped you negotiate this agreement. If you
do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to
you at the hearing to approve the Reaffirmation Agreement. When this disclosure refers to what a
creditor “may” do, it is not giving any creditor permission to do anything. The word “may” is used to
tell you what might occur if the law permits the creditor to take the action.

B. INSTRUCTIONS

1. Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm,
review and complete the information contained in the Reaffirmation Agreement (Part I above). If your
case is a joint case, both spouses must sign the agreement if both are reaffirming the debt.

2. Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part II above). Be sure that
you can afford to make the payments that you are agreeing to make and that you have received a copy of
the Disclosure Statement and a completed and signed Reaffirmation Agreement.

3. Ifyou were represented by an attorney during the negotiation of your Reaffirmation Agreement, your
attorney must sign and date the Certification By Debtor’s Attorney (Part IV above).

4. You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

5. Ifyou are not represented by an attorney, you must also complete and file with the court a separate
document entitled “Motion for Court Approval of Reaffirmation Agreement” unless your Reaffirmation
Agreement is for a consumer debt secured by a lien on your real property, such as your home. You can
use Form 2400B to do this.
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Form 2400A, Reaffirmation Documents Page 7

Cc.

DEFINITIONS

“Amount Reaffirmed” means the total amount of debt that you are agreeing to pay (reaffirm) by
entering into this agreement. The total amount of debt includes any unpaid fees and costs that you are
agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
Reaffirmation Agreement (Part I, Section B above). Your credit agreement may obligate you to pay
additional amounts that arise after the date of this disclosure. You should consult your credit agreement
to determine whether you are obligated to pay additional amounts that may arise after the date of this
disclosure.

“Annual Percentage Rate” means the interest rate on a loan expressed under the rules required by
federal law. The annual percentage rate (as opposed to the “stated interest rate”) tells you the full cost
of your credit including many of the creditor’s fees and charges. You will find the annual percentage
rate for your original agreement on the disclosure statement that was given to you when the loan papers
were signed or on the monthly statements sent to you for an open end credit account such as a credit
card.

“Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(iv). It is owned
and controlled by and provides financial services to its members and typically uses words like “Credit
Union” or initials like “C.U.” or “F.C.U.” in its name.
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Form 2400B (12/15)

UNITED STATES BANKRUPTCY COURT

Middle District of Louisiana

Inre Lawrence L. Perkins ; Case No, 20-10058
Debtor

 

Chapter 7

MOTION FOR APPROVAL OF REAFFIRMATION AGREEMENT
I (we), the debtor(s), affirm the following to be true and correct:
I am not represented by an attorney in connection with this reaffirmation agreement.

I believe this reaffirmation agreement is in my best interest based on the income and
expenses I have disclosed in my Statement in Support of Reaffirmation Agreement, and because
(provide any additional relevant reasons the court should consider):

Therefore, | ask the court for an order approving this reaffirmation agreement under the
following provisions (check all applicable boxes):

[Ai U.S.C. § 524(c)(6) (debtor is not represented by an attorney during the
course of the negotiation of the reaffirmation agreement)

11 U.S.C. § 524(m) (presumption of undue hardship has arisen because
monthly expenses exceed monthly income, as explained in Part II of Form
2400A, Reaffirmation Documents)

snot odlee——fDerhe

(Debtor)

 

(Joint Debtor, if any)

Date: _ \ \2.\ \C92O
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Fill in this information to identi

Debtor 1 Lawrence L, Perkins

Debtor 2 Linda J. Perkins
(Spouse, if filing)

 

'| United States Bankruptcy Court for the: MIDDLE DISTRICT OF LOUISIANA

 

Case number 20-10058 Check if this is:

(known) C1 An amended filing

C1 A supplement showing postpetition chapter
13 income as of the following date:

Official Form 106] MM /DDIYYVY”
Schedule |: Your Income 42/45

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment

 

 

 

 

 

  
     

 

 

information. se j Et
If you have more than one job, Bi Employed (1 Employed
attach a separate page with Employment status Oo a
information about additional Not employed Not employed
employers.

pee Occupation Part-time/custodian Unemployed
Include part-time, seasonal, or . ;
self-employed work, Employer's name Parish of Ascension

 

Ceoupaton may nctde student Employers adéress pO Box 2392
, ‘ Gonzales, LA 70707

 

How long employed there? 1984-Pres.

EXPE Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

 

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 § 1,746.81 $ 0.00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 + 0.00
4. Calculate gross Income. Add line 2 + line 3. 4. | $ 1,746.81 $ 0.00

 

 

 

 

 

Official Form 1061 Schedule |: Your Income page 1
Case 20-10058 Doc56 Filed 07/22/20

Debtor 4
Debtor2 Linda J. Perkins

10.

11.

12.

13.

Official Form 106]

5a,
5b.
5c.
5d.
5e.
of,

5g.
5h,

8a,

8b,
8c.

8d.
8e,
8F.

8g.

8h.

Lawrence L. Perkins

 

 

Case number (if known)

 
 

20-10058

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Copy line 4 here 4. 1,746.81
List all payroll deductions:
Tax, Medicare, and Social Security deductions 5a. $ 338.17 $ 0.00
Mandatory contributions for retirement plans 5b. $ 0.00 $ 0.00
Voluntary contributions for retirement plans 6c. $ 0.00 $ 0.00
Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
Insurance Se. § 0.00 $ 0.00
Domestic support obligations Sf = $ 0.00 6 6§$ 0.00
Union dues 5g. $ 0.00 «$ 0.00
Other deductions. Specify: Sh.+ §$ 0.00 + $ 0.00
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. $ 338.17 $ 0.00
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 6 §$ 1,408.64 $ 0.00
List all other income regularly received:
Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. $ 0.00) = $ 0.00
Interest and dividends 8b, $ 0.00 $ 0.00
Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8c. §$ 0.00 $ 0.00
Unemployment compensation 8d. $ 0.00 $ 0.00
Social Security Be. §$ 0.00 $ 0.00
Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you recelve, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: SSI- Gross: $1673.50 - Non DMI 8f. $ 0.01 $ 0.00
SSI-$812.00- Non DMI $ 0.00 «=$ 0.01
Foster Care -Health & Human Services $ 0.00 =«§ 1,279.84
Pension or retirement income 8g. $ 0.00 $ 0.00
Retirement- International
Other monthly income. Specify: Longshoremen's Association Bh.t $ 1,592.00 + $ 0.00
Parochial Employees' Retirement System $ 341.94 $ 0.00
Add all other income. Add lines 8at+8b+8c+8d+8e+8f+8g+8h. 9. 1$ 1,933.95] |$ 1,279.85
Calculate monthly income. Add line 7 + line 9. 10. |$ 3,342.59/+/$ 1,279.85/=|$ 4,622.44

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives. .
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

 

 

 

 

 

 

 

Add the amount In the last column of line 10 to the amount in Ilne 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it

applies

Do you expect an increase or decrease within the year after you file this form?

Oo
x

No.

+3 0.00

 

 

$ 4,622.44

 

 

 

Combined
monthly income

 

Yes. Explain: | His pay slightly increase since filing. Used stub 05/07/20

 

Added Foster Care Benefits -Health and Human Services

 

Schedule |: Your Income

page 2

 

 
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Fill in this information to identify your case:

 

 

Debtor 1 Lawrence L. Perkins. Check if this is:

Ol Anamended filing
Debtor 2 Linda J. Perkins (C1 Asupplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: MIDDLE DISTRICT OF LOUISIANA MM /DD/YYYY

 

Casenumber 20-10058
(If Known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known), Answer every question.

 

Describe Your Household
1. Is this a joint case?

C1 No. Go to fine 2.
Hf Yes. Does Debtor 2 live in a separate household?

BNo
O Yes, Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? [] No

     

 

 

 

 

 

Do not list Debtor 1 and Hl Yes, Fill out this.information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. ‘gach dependent............. Debtor 1 or Debtor 2 age live with you?
SE = si
Do not state the .
dependents names. Grandchild
Grandchild
Grandchild
3. Do your expenses include HNo

expenses of people other than oO
yourself and your dependents? Yes
Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061)

 

4. The rental or home ownership expenses for your residence. Include first mortgage 4,092.75
payments and any rent for the ground or lot. 4, $ wee.

If not included in line 4:

4a, Real estate taxes 4a, $ 0.00
4b, Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d, Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

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23a.
23b.

23c,

 

 

 

 

 

 

 

 

 

 

 

 

Copy line 12 (your combined monthly income) from Schedule I.
Copy your monthly expenses from line 22c above,

Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

Official Form 106J Schedule J: Your Expenses

23a.
23b.

23¢,

 

 

 

Debtor’ Lawrence L. Perkins ‘
Debter2 Linda J, Perkins Case number (ifknown)  20-10058
6. Utilities:
6a. Electricity, heat, natural gas 6a. $ 230.00
6b. Water, sewer, garbage collection 6b. $ 50.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 0.00
6d. Other. Specify: Cable (Direct) 6d. $ 80.00
Internet (Cox) $ 128.00
7. Food and housekeeping supplies 7. $ 1,275.00
8. Childcare and children’s education costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 301.00
10. Personal care products and services 10. $ 112.00
11. Medical and dental expenses 11. $ 220.00
12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12, $ 200.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
14. Charitable contributions and religious donations 14. $ 151.83
15, Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. $ 0.00
15c, Vehicle insurance 15c. $ 0.00
15d. Other insurance. Specify: Life Insurance (AARP) 15d. $ 124.95
Life Insurance (CMFG) $ 402.93
auto insurance (State Farm) 2011 Buick $921.02/6 $ 153.50
auto insurance (State Farm) 2009 GMC $1,000.23/6 $ 166.71
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
17. Installment or lease payments:
17a, Car payments for Vehicle 1 17a, $ 0.00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c, Other. Specify: Buick note (approx. 24 months remaining) 17c. $ 348.59
17d. Other. Specify: GMC note (approx. 48 months remaining) 17d. $ 373.00
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line §, Schedule I, Your Income (Official Form 106). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your Income.
20a, Mortgages on other property 20a, $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter's insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
. 20e. Homeowner's association or condominium dues 20e. $ 0.00
21. Other: Specify: Cell phones $110; Netflix; Amazon; MISC- NLE, Means
Test 21. +$ 518.00
22. Calculate your monthly expenses
22a. Add lines 4 through 21. $ 5,628.26
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 5,628.26
23. Calculate your monthly net income.

$ 4,622.44
“$ 5,628.26

 

 

$ 1,005.82

 

 

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Debtor1 Lawrence L, Perkins
Debtor2 Linda J. Perkins Case number (Ifknown) 20-10058

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modification to the terms of your mortgage?

HNo.

 

C1] Yes. Explain here: Used National Living Expenses for household of 5
(Was NLE for four)

 

Nitg payment was 1,297.85

 

 

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